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                                               Certificate Number: 03621-NYE-CC-034642764


                                                              03621-NYE-CC-034642764




                        CERTIFICATE OF COUNSELING

I CERTIFY that on July 8, 2020, at 9:57 o'clock AM EDT, Myint J Kyaw
received from Credit Card Management Services, Inc. d/b/a Debthelper.com, an
agency approved pursuant to 11 U.S.C. 111 to provide credit counseling in the
Eastern District of New York, an individual [or group] briefing that complied
with the provisions of 11 U.S.C. 109(h) and 111.
A debt repayment plan was not prepared. If a debt repayment plan was prepared, a
copy of the debt repayment plan is attached to this certificate.
This counseling session was conducted by internet.




Date:    July 8, 2020                          By:      /s/Jamie Thomas


                                               Name: Jamie Thomas


                                               Title:   Credi Counselor




* Individuals who wish to file a bankruptcy case under title 11 of the United States Bankruptcy
Code are required to file with the United States Bankruptcy Court a completed certificate of
counseling from the nonprofit budget and credit counseling agency that provided the individual
the counseling services and a copy of the debt repayment plan, if any, developed through the
credit counseling agency. See 11 U.S.C. 109(h) and 521(b).
